                       Case 2:18-cv-03831-AB Document 15 Filed 09/10/18 Page 1 of 3
                                                                                                           CLOSED
                                       U.S. District Court
                                District of Maryland (Baltimore)
                        CIVIL DOCKET FOR CASE #: 1:18−cv−02126−GJH

Belt et al v. P.F. Chang's China Bistro, Inc.                       Date Filed: 07/11/2018
Assigned to: Judge George Jarrod Hazel                              Date Terminated: 09/06/2018
Demand: $500,000                                                    Jury Demand: Plaintiff
Cause: 28:1331 Fed. Question: Fair Labor Standards                  Nature of Suit: 710 Labor: Fair Standards
                                                                    Jurisdiction: Federal Question
Plaintiff
Steven Belt                                          represented by Benjamin L Davis , III
                                                                    Law Offices of Peter T. Nicholl
                                                                    Charles Center South
                                                                    36 South Charles Street
                                                                    Suite 1700
                                                                    Baltimore, MD 21201
                                                                    410−244−7005
                                                                    Fax: 410−244−8454
                                                                    Email: bdavis@nicholllaw.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

Plaintiff
Laura Council                                        represented by Benjamin L Davis , III
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

Plaintiff
James Harris                                         represented by Benjamin L Davis , III
                                                                    (See above for address)
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED


V.
Defendant
P.F. Chang's China Bistro, Inc.                      represented by Paul DeCamp
                                                                    Epstein Becker & Green, P.C.
                                                                    1227 25th Street, N.W.
                                                                    Washington, DC 20037
                                                                    202−861−1819
                                                                    Fax: 202−861−3571
                                                                    Email: pdecamp@ebglaw.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    E John Steren
                        Case 2:18-cv-03831-AB Document 15 Filed 09/10/18 Page 2 of 3
                                                                            Epstein Becker & Green, P.C.
                                                                            1227 25th Street, N.W.
                                                                            7th Floor
                                                                            Washington, DC 20037
                                                                            202−861−1825
                                                                            Fax: 202−861−3070
                                                                            Email: esteren@ebglaw.com
                                                                            TERMINATED: 08/28/2018

Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed        #    Docket Text

 07/11/2018       Ï1    COMPLAINT for Wages Owed against P.F. Chang's China Bistro, Inc. ( Filing fee $ 400 receipt
                        number 0416−7439512.), filed by Steven Belt, Laura Council, James Harris. (Attachments: # 1
                        Civil Cover Sheet, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Summons)(Davis, Benjamin)
                        (Entered: 07/11/2018)

 07/18/2018       Ï2    QC NOTICE regarding: 1 Complaint, filed by Steven Belt, Laura Council, James Harris.
                        **Not all attorneys listed as counsel have signed the document. Court staff has entered the
                        appearance of only the attorneys who have signed the document. All other attorneys must enter
                        their own entries of appearance. (kns, Deputy Clerk) (Entered: 07/18/2018)

 07/18/2018       Ï3    Summons Issued 21 days as to P.F. Chang's China Bistro, Inc.(kns, Deputy Clerk) (Entered:
                        07/18/2018)

 07/25/2018       Ï4    SUMMONS Returned Executed by Steven Belt, Laura Council, James Harris. P.F. Chang's China
                        Bistro, Inc. served on 7/25/2018, answer due 8/15/2018.(Davis, Benjamin) (Entered: 07/25/2018)

 08/15/2018       Ï5    NOTICE of Appearance by E John Steren on behalf of P.F. Chang's China Bistro, Inc. (Steren, E)
                        (Entered: 08/15/2018)

 08/15/2018       Ï6    Local Rule 103.3 Disclosure Statement by P.F. Chang's China Bistro, Inc. identifying Corporate
                        Parent Wok Holdings for P.F. Chang's China Bistro, Inc..(Steren, E) (Entered: 08/15/2018)

 08/15/2018       Ï7    ANSWER to 1 Complaint, by P.F. Chang's China Bistro, Inc..(Steren, E) (Entered: 08/15/2018)

 08/27/2018       Ï8    NOTICE of Appearance by Paul DeCamp on behalf of P.F. Chang's China Bistro, Inc. (DeCamp,
                        Paul) (Entered: 08/27/2018)

 08/27/2018       Ï9    MOTION to Withdraw as Attorney by P.F. Chang's China Bistro, Inc. (Attachments: # 1 Text of
                        Proposed Order)(Steren, E) (Entered: 08/27/2018)

 08/28/2018      Ï 10   PAPERLESS ORDER granting 9 Motion to Withdraw as Attorney. Attorney E John Steren
                        terminated. Signed by Judge George Jarrod Hazel on 8/28/2018. (am2s, Chambers) (Entered:
                        08/28/2018)

 08/28/2018      Ï 11   PAPERLESS correspondence advising that the Court has scheduled a Fed. R. Civ. P. 16 telephone
                        conference call for Thursday, August 30, 2018 at 5:15 p.m. The parties are instructed to dial−in for
                        the call. Phone number: 877−810−9415; Access code: 5860700. (am2s, Chambers) (Entered:
                        08/28/2018)

 08/29/2018      Ï 12   MOTION to Transfer Case by P.F. Chang's China Bistro, Inc. (Attachments: # 1 Memorandum in
                        Support, # 2 Text of Proposed Order)(DeCamp, Paul) (Entered: 08/29/2018)

 08/31/2018      Ï 13   Consent MOTION to Change Venue by P.F. Chang's China Bistro, Inc. (Attachments: # 1 Text of
                        Proposed Order)(DeCamp, Paul) (Entered: 08/31/2018)
                    Case 2:18-cv-03831-AB Document 15 Filed 09/10/18 Page 3 of 3
09/06/2018   Ï 14   ORDER granting 13 Consent Motion to Transfer Venue; directing the Clerk to transfer this case to
                    the U.S. District Court for the Easter District of Pennsylvania. Signed by Judge George Jarrod
                    Hazel on 9/6/2018. (jf3s, Deputy Clerk) (Entered: 09/06/2018)
